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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


                                               Civil Action No. 2:16-cv-09449 (KSH) (CLW)
 IN RE ALLERGAN GENERIC DRUG
 PRICING SECURITIES LITIGATION                   JOINT STIPULATION AND ORDER
                                                REGARDING CLASS CERTIFICATION
                                                      BRIEFING SCHEDULE



        Plaintiffs Sjunde AP-Fonden and Union Asset Management Holding AG (“Plaintiffs”) and

 Defendants Allergan PLC, Brenton L. Saunders, Paul M. Bisaro, Maria Teresa Hilado, R. Todd

 Joyce, Sigurdur O. Olafsson, David A. Buchen, James H. Bloem, Christopher W. Bodine, Tamar
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 D. Howson, John A. King, Ph.D., Catherine M. Klema, Jiri Michal, Jack Michelson, Patrick J.

 O’Sullivan, Ronald R. Taylor, Andrew L. Turner, Fred G. Weiss, Nesli Basgoz, M.D., and

 Christopher J. Coughlin (“Defendants”) respectfully submit this stipulation and proposed order

 requesting an amendment to the class certification briefing deadlines set in the Court’s Order

 Regarding Amendment to Pretrial Scheduling Order in the above captioned action (Dkt. 142):

        WHEREAS, the Court entered the initial Pretrial Scheduling Order in this Action on

 October 21, 2019 (Dkt. 134);

        WHEREAS, the Court entered the Parties’ Joint Stipulation and Order Regarding

 Amended to Pretrial Scheduling Order on March 11, 2020, which granted the Parties’ request for

 a one-week extension of Plaintiffs’ deadline to file their Motion for Class Certification and an

 eleven-week extension of all discovery deadlines (Dkt. 142);

        WHEREAS, Plaintiffs filed a Motion for Class Certification on March 20, 2020 (Dkt. 143);

        WHEREAS, Defendants requested an eight-week extension of the remaining briefing

 schedule on Plaintiffs’ Motion for Class Certification to ensure Defendants have adequate time to

 complete discovery related to Plaintiffs’ Motion for Class Certification in light of the anticipated

 delays arising out of the COVID-19 pandemic, and Plaintiffs consent to Defendants’ request; and

        WHEREAS, the Court conducted a telephonic status conference with the Parties on April

 9, 2020, during which the requested modification to the remaining briefing schedule on Plaintiffs’

 Motion For Class Certification was discussed;

 NOW THEREFORE, IT IS HEREBY STIPULATED AND AGREED:

        1. The Parties respectfully request that the deadlines set forth in the Order Regarding

            Amendment to Pretrial Scheduling Order be modified as follows:




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             Event                   Current Date                    Revised Date


  Opposition to Motion for     June 5, 2020                 July 31, 2020
  Class Certification

  Reply in Support of Motion   July 24, 2020                September 18, 2020
  for Class Certification




                                         Respectfully Submitted,

                                         CARELLA, BYRNE, CECCHI, OLSTEIN,
                                         BRODY & AGNELLO, P.C.

 Dated: April 10, 2020                   s/ James E. Cecchi__________________________
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 Dated: April 10, 2020                   s/ Matthew L. Mustokoff______________________
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                                    Attorneys for Defendants


 PURSUANT TO THE FOREGOING STIPULATION, IT IS SO ORDERED.

                 April 13 2020
 Dated: _________________,



                                           //s Cathy L. Waldor
                                    __________________________________________
                                              HON. CATHY L. WALDOR
                                       UNITED STATES MAGISTRATE JUDGE




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